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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                               Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 17–cv–01962–PAB–KMT

  JOHN DOE,

         Plaintiff,

  v.


  UNIVERSITY OF DENVER, UNIVERSITY OF DENVER BOARD OF TRUSTEES,
  REBECCA CHOPP, individually and as agent for UNIVERSITY OF DENVER,
  KRISTIN OLSON, individually and as agent for UNIVERSITY OF DENVER,
  JEAN MCALLISTER, individually and as agent for UNIVERSITY OF DENVER,
  SIRI SLATER, individually and as agent for UNIVERSITY OF DENVER, and
  ERIC BUTLER, individually and as agent for UNIVERSITY OF DENVER,

         Defendants.


                                                ORDER



         A Final Pretrial Conference is scheduled for January 28, 2019 at 10:00 a.m. In

  accordance with this court’s directions to counsel at the time of the Scheduling Conference, the

  parties have timely submitted a proposed Final Pretrial Order for the court’s consideration. That

  proposed order did not contain the parties’ exhibit list. However, the exhibit list [Doc. No. 89-1]

  was filed on January 24, 2019 and will be incorporated into the Final Pretrial Order.

         After review of the proposed Final Pretrial Order and the joint exhibit list, this court is

  satisfied that the parties have met their obligations pursuant to Fed. R. Civ. P. 16(e) and a further

  telephonic conference at this stage would not be productive. The proposed Final Pretrial Order,

  including the joint exhibit list identified above, shall be entered as an Order of Court.
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         The telephonic conference scheduled on January 28, 2019 at 10:00 a.m. is VACATED

  and instead the parties are directed to place a conference call directly to the chambers of

  District Judge Philip A Brimmer to receive further instructions regarding the scheduling of a

  trial date and a trial preparation conference.

         Dated January 25, 2019.




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